
PER CURIAM:
This c laim w as s ubmitted f or de cisión b ased u pon t he a negations in t he Notice of Claim and respondent's Answer.
Claimant, a student at West Virginia University, seeks $53.00 for personal items that were ruined when the sprinkler system in her dormitory room in Lyon Tower malfunctioned. In its Answer, respondent admits the validity of the claim *120and that the amount is fair and reasonable. The Court is aware that respondent does not have a fiscal method for paying claims of this nature; therefore, the claim has been submitted to this Court for determination.
In view of the foregoing, the Court is of the opinion to and does make an award to claimant in the amount of $53.00.
Award of $53,00.
